            Case 1:19-cv-01796-PEC Document 6 Filed 11/22/19 Page 1 of 2



                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   BID PROTEST




AMAZON WEB SERVICES, INC.,

                Plaintiff,
                                                                     19-1796 C
                                                          Case No. _______________
     v.
                                                          Judge     _______________
UNITED STATES OF AMERICA,
by and through the U.S. Department of Defense,

                Defendant.


                             NOTICE OF DIRECTLY RELATED CASE

          Pursuant to Rule 40.2 of the Rules of the Court of Federal Claims, Plaintiff Amazon Web

 Services, Inc. (“AWS”) provides notice that the above captioned case is directly related to Oracle

 Am., Inc. v. United States, 144 Fed. Cl. 88 (2019) (No. 18-1880C), which was decided by Court

 of Federal Claims Judge Eric G. Bruggink and is now on appeal at the U.S. Court of Appeals for

 the Federal Circuit, Oracle Am., Inc. v. United States (No. 19-2326).

          This case is directly related because it involves the same contract, the Joint Enterprise

 Defense Infrastructure Contract, Contract No. HQ0034-20-D-0001, which was awarded under

 Solicitation No. HQ0034-18-R-0077 to Microsoft Corporation (“Microsoft”).

          AWS expects assigning this case to Judge Bruggink would conserve judicial resources and

 promote the efficient administration of justice because AWS’s post-award bid protest concerns the

 same solicitation as that which was the subject of the related matter that Judge Bruggink previously

 decided.
         Case 1:19-cv-01796-PEC Document 6 Filed 11/22/19 Page 2 of 2



Dated:        November 22, 2019     Respectfully submitted,




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